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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTzuCT OF LOUISIANA


 UNITED STATES OF AMERICA                                              CzuMINAL

 VERSUS                                                                NO.23-34

 ALPHONSEBAZILE                                                        SECTION: I



          ORDER PURSUANT TO THE DUE PROCESS PROTECTIONS ACT

       Pursuant   to the Due Process Protections Act, the Court confirms the United        States'

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland,

373 U.S. 83 (1963) and its progeny, and hereby orders it to do so. Failing to do so in a timely

manner may result in consequences, including, but not limited to, exclusion of evidence, adverse

jury instructions, dismissal of charges, contempt proceedings, and/or sanctions by the Court.

       New Orleans, Louisiana this     Al*hauy of                                   208.


                                              MAGI             ruDGE
